     Case
      Case2:14-cr-00202-JAD-GWF
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 1   DANIEL G. BOGDEN
     United States Attorney
 2   AMBER M. CRAIG
     Assistant United States Attorney
 3   333 Las Vegas Blvd. South, Suite 5000
     Las Vegas, Nevada 89101
 4   PHONE: (702) 388-6336
     FAX: (702) 388-6698
 5
                                      UNITED STATES DISTRICT COURT
 6                                         DISTRICT OF NEVADA
                                                  -oOo-
 7
     UNITED STATES OF AMERICA,
 8                                                             2:14-cr-202-JAD-GWF
                               Plaintiff,
 9                                                             STIPULATION TO CONTINUE
                 vs.                                           SENTENCING
10                                                             (First Request)
     CARLOS PACHECO-TUT,
11
                            Defendant.
12
            IT IS HEREBY STIPULATED AND AGREED, by and between Daniel G. Bogden, United
13
     States Attorney, and Amber M. Craig, Assistant United States Attorney, counsel for the United
14
     States of America, and Jess Marchese, Esq., counsel for Defendant Carlos Pacheco-Tut, that the
15
     sentencing hearing, currently set for April 20, 2015, at the hour of 10:00 a.m., be vacated and
16
     continued for two weeks, or to a date to be set at the Court’s convenience.
17
            This stipulation is entered into for the following reasons:
18
            1. The parties require additional time to prepare for the sentencing hearing.
19
            2. The Defendant is in custody and does not object to the continuance.
20
            3. For the reasons stated above, the ends of justice would best be served by a continuance of
21
     the sentencing hearing.
22
     //
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     //
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 1         4. This is the first request for a continuance filed herein.
 2         DATED this ____ day of April, 2015.
 3                                                         DANIEL G. BOGDEN
                                                           United States Attorney
 4
      /s/ Jess Marchese                                     /s/ Amber M. Craig
 5   JESS MARCHESE, ESQ.                                   AMBER M. CRAIG
     Counsel for Defendant Pacheco-Tut                     Assistant United States Attorneys
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 1
                                  UNITED STATES DISTRICT COURT
 2                                     DISTRICT OF NEVADA
                                              -oOo-
 3
     UNITED STATES OF AMERICA,
 4
                           Plaintiff,                       2:14-cr-202-JAD-GWF
 5
                 vs.                                        ORDER
 6
     CARLOS PACHECO-TUT,
 7
                           Defendant.
 8

 9          Based upon the pending Stipulation of counsel, and good cause appearing therefore
10          IT IS ORDERED that the preliminary hearing, currently scheduled for April 20, 2015, at
11
                                              Wednesday,
     10:00 a.m., be vacated and continued to the ____ day ofMay 6,
                                                                20,2015,
                                                                    2015,atat10:00
                                                                              10:00a.m.
                                                             __________________,   2015,
                                                                                    a.m.at
12   __________.
13
                       20th day
            DATED this ____ dayof
                                of_______________,
                                   April, 2015.    2015.
14

15                                                       ________________________________
                                                         HONORABLE JENNIFER A. DORSEY
16                                                       UNITED STATES DISTRICT JUDGE
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